7 F.3d 228
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Michael Lynn SMITH, Defendant-Appellant.
    No. 93-6672.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 20, 1993.Decided:  September 21, 1993.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.
      Michael Lynn Smith, Appellant Pro Se.
      Sherry L. Muncy, OFFICE OF THE UNITED STATES ATTORNEY, for Appellee.
      N.D.W.Va.
      AFFIRMED.
      Before WILKINS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Michael Lynn Smith appeals from the district court's order refusing relief under 28 U.S.C. § 2255 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Smith, Nos.  CR-92-57; CA-93-32-E (N.D.W. Va.  June 16, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    